Case 1-18-47256-cec Doc9 Filed 01/16/19 Entered 01/16/19 08:23:26

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EVAN LAZEROWITZ* January 16, 2019

Via ECF

Hon. Carla E. Craig
U.S. Bankruptcy Court
271 Cadman Plaza East
Brooklyn, NY 11201

Re: 4921 12" Avenue LLC
Case No. 18-47256 (CEC)

Dear Judge Craig:

This is to advise the Court that my firm filed the above referenced Chapter 11
petition as accommodation to the regular counsel for the Debtor because he did yet not
have an account for ECF filing. Thus, we want the Court to know that although Goldberg
Weprin Finkel Goldstein LLP appears on the ECF docket, we are not the Debtor’s
attorneys in the case and only assisted in processing the electronic filing.

I am advised that the attorney for the Debtor, Michael Levine, Esq., who has his
offices in Westchester County, has arranged for a local Brooklyn bankruptcy attorney to

appear on behalf of the Debtor at the initial status conference this afternoon.

Respectfully yours,

 
 

J. Ted Donovan

ce: William Curtin, Esq. (Via ECF and e-mail)
Michael Levine, Esq. (Via ECF and e-mail)
